                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               SOUTHERN DIVISION

GUADALUPE ADAMS,                                     )
                                                     )
                Plaintiff,                           )
                                                     )
       v.                                            )       Case No. 6:15-cv-03263-MDH
                                                     )
NET LEASE FUNDING 2005, LP,                          )
                                                     )
                Defendant.                           )


                                   ORDER OF DISMISSAL

       Pursuant to the notice of settlement and stipulation of dismissal filed by the parties in this

matter (Doc. 15), and in accordance with Federal Rule of Civil Procedure 41(a)(1)(A)(ii), this

case is hereby DISMISSED WITH PREJUDICE and each party shall bear its own costs, fees,

and expenses except as otherwise agreed to in writing by the parties.


IT IS SO ORDERED.
Date: October 1, 2015                                  /s/ Douglas Harpool_______________
                                                     DOUGLAS HARPOOL
                                                     UNITED STATES DISTRICT JUDGE




            Case 6:15-cv-03263-MDH Document 16 Filed 10/01/15 Page 1 of 1
